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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                NO. 3:18-CR-0500-B
CHRISTOPHER AUNDRE FAULKNER

                                 NOTICE OF APPEAL

         Pursuant to Defendant’s instructions to counsel, notice is hereby given that

Christopher Aundre Faulkner appeals to the United States Court of Appeals for the Fifth

Circuit from the judgment and sentence imposed and entered judgment in the above-

entitled case on September 29, 2021, by the Honorable Jane J. Boyle, United States District

Judge for the Northern District of Texas.



                                            Respectfully submitted,



                                            /s/ Aaron L. Wiley
                                            Aaron L. Wiley
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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 12, 2021, I electronically filed the foregoing

document via the Court’s CM/ECF system, thereby providing service on attorneys of

record.


                                      /s/ Aaron L. Wiley
                                      Aaron L. Wiley
                                      Attorney for Defendant




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